                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION
 In re:

 JOHN STODDART,                              )      Case No. 19-80272-TOM-11
 HELEN POWELL-STODDART,                      )
          Debtors.                           )

                                   ORDER
                         APPROVING EMPLOYMENT OF
                    ATTORNEY FOR THE DEBTOR-IN-POSSESSION

          This case came before the Court February 25, 2019 for a hearing on the Debtors’
 Application to Employ Tazewell T. Shepard, III, Kevin M. Morris, and Tazewell T.
 Shepard, IV of Sparkman, Shepard & Morris, P.C., as Attorney for the Debtor-in-Possession.
  It appears to the Court that the Application and Verified Statement of the Attorney to be
 employed meets the requirements of the Bankruptcy Code and Rules for such employment, and
 that it is in the best interest of the bankruptcy estate that such employment be approved; now
 therefore,

        It is ORDERED, ADJUDGED, AND DECREED that Tazewell T. Shepard, III, Kevin M.
 Morris, and Tazewell T. Shepard, IV of Sparkman, Shepard & Morris, P.C. shall be and hereby is
 APPROVED as Attorneys for the Debtors-in-Possession.

         Applicants have requested compensation based upon an hourly basis and the total amount
 of fees will be determined after Applicants properly file an Application for Compensation.
 Applicants may draw on the retainer but when exhausted must seek court approval before
 accepting additional payments.

         It is further ORDERED the employment is approved and reasonable compensation and
 reimbursement for actual and necessary expenses under Section 330(a) and Section 331 of the
 Bankruptcy Code may be paid to said professionals only as approved by this Court on application
 after notice and hearing pursuant to Rule 2016 of the Federal Rules of Bankruptcy Procedure. A
 COURTESY COPY OF ALL FEE APPLICATIONS SHALL BE PROVIDED TO THE JUDGE
 WHEN FILED.



 Dated: February 27, 2019
                                                    /s/ Tamara O. Mitchell
                                                    TAMARA O. MITCHELL
                                                    United States Bankruptcy Judge

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